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15 Attorneys for Plaintiff and
   Counterclaim Defendant
16 hiQ Labs, Inc.

17

18                                UNITED STATES DISTRICT COURT

19                               NORTHERN DISTRICT OF CALIFORNIA

20   hiQ Labs, Inc.,

21                     Plaintiff and   Counterclaim Case No. 3:17-cv-03301-EMC
                       Defendant,
22                                                  DECLARATION OF ZANE MULLER IN
            vs.                                     SUPPORT OF HIQ LABS, INC.’S
23                                                  MOTION FOR SUMMARY JUDGMENT
     LinkedIn Corp.,
24
                                                    ON LINKEDIN’S FIRST
                                                    COUNTERCLAIM
                       Defendant and Counterclaim
25                     Plaintiff.
26
27

28
                                                                  Case No. 3:17-cv-03301-EMC
     MULLER DECL. ISO HIQ’S MOTION FOR SUMMARY JUDGMENT ON LINKEDIN’S FIRST
     COUNTERCLAIM
       Case 3:17-cv-03301-EMC Document 332 Filed 08/05/22 Page 2 of 3




 1 I, Zane Muller, declare as follows:

 2          1.     I am an attorney with the law firm of Quinn Emanuel Urquhart & Sullivan, LLP,

 3 attorneys of record for Plaintiff hiQ Labs, Inc. (“hiQ”). I have personal knowledge of the facts set

 4 forth below and if called as a witness I could and would competently testify to those facts.

 5          2.     Attached hereto as Exhibit A is a true and correct copy of a document produced by

 6 hiQ from its files, initial page Bates Number hiQ_00102004.

 7          3.     Attached hereto as Exhibit B is a true and correct copy of LinkedIn Corp.’s

 8 (“LinkedIn”) Responses and Objections to hiQ’s Second Set of Interrogatories.

 9          4.     Attached hereto as Exhibit C is a true and correct copy of a document produced by

10 LinkedIn from its files, initial page Bates Number LINK_HIQ_000038999.

11          5.     Attached hereto as Exhibit D is a true and correct copy of a document produced by

12 LinkedIn from its files, initial page Bates Number LINK_HIQ_000039040.

13          6.     Attached hereto as Exhibit E is a true and correct copy of a document produced by

14 LinkedIn from its files, initial page Bates Number LINK_HIQ_000012281.

15          7.     Attached hereto as Exhibit F is a true and correct copy of an excerpt from the

16 transcript of the Deposition of Robert Rosin, taken May 23, 2022.

17          8.     Attached hereto as Exhibit G is a true and correct copy of the LinkedIn profile of Lee

18 Womer, retrieved on August 4, 2022 from https://www.linkedin.com/in/lwomer.

19          9.     Attached hereto as Exhibit H is a true and correct copy of a document produced by

20 LinkedIn from its files, initial page Bates Number LINK_HIQ_000012274.

21          10.    Attached hereto as Exhibit I is a true and correct copy of an excerpt from the

22 transcript of the Deposition of Lee Womer, taken May 11, 2022.

23          11.    Attached hereto as Exhibit J is a true and correct copy of a document produced by

24 LinkedIn from its files, initial page Bates Number LINK_HIQ_000067471.

25          12.    Attached hereto as Exhibit K is a true and correct copy of a document produced by

26 LinkedIn from its files, initial page Bates Number LINK_HIQ_000067901.
27          13.    Attached hereto as Exhibit L is a true and correct copy of a document produced by

28 hiQ from its files, initial page Bates Number hiQ_00097102.
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     COUNTERCLAIM
       Case 3:17-cv-03301-EMC Document 332 Filed 08/05/22 Page 3 of 3




 1         14.     Attached hereto as Exhibit M is a true and correct copy of a document produced by

 2 hiQ from its files, initial page Bates Number hiQ_00603901.

 3         15.     Attached hereto as Exhibit N is a true and correct copy of an excerpt from the

 4 transcript of the Deposition of Darren Kaplan, taken May 4, 2022.

 5         16.     Attached hereto as Exhibit O is a true and correct copy of a document produced by

 6 LinkedIn from its files, initial page Bates Number LINK_HIQ_000002224.

 7         17.     I declare under penalty of perjury under the laws of the United States that the

 8 foregoing is true and correct.

 9         Executed August 5, 2022, at Brooklyn, New York.

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11                                                     By:    /s/ Zane Muller
                                                              Zane Muller
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                                             -2-                  Case No. 3:17-cv-03301-EMC
     MULLER DECL. ISO HIQ’S MOTION FOR SUMMARY JUDGMENT ON LINKEDIN’S FIRST
     COUNTERCLAIM
